      Case 1:20-cv-03506-LKG Document 27 Filed 05/16/22 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

RAY A. GILMORE                            *

              Plaintiff,                  *

       v.                                 *      Case No.: 20-cv-3506-RDB


FIRE AND POLICE EMPLOYEES’
RETIREMENT SYSTEM OF F&P
OF BALTIMORE
                                          *
              Defendant.

*      *      *       *        *   *      *      *      *      *      *      *

                           STIPULATION OF DISMISSAL

       Plaintiff Ray A. Gilmore and Defendant Baltimore City Fire and Police

Employees’ Retirement Systems (“F&PERS”), having reached agreement on the terms of

settlement, hereby voluntarily agree to dismiss the Amended Complaint, and move this

Honorable Court to enter an ORDER dismissing all claims against the F&PERS, with

prejudice.


Dated this 16th of May, 2022                            Respectfully submitted,


____________/s/_____________                     ___________/s/______________
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